        Case 1:18-cv-05714-WMR Document 1 Filed 12/13/18 Page 1 of 9




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

JOHN DOE,                           )
                                    )
       Plaintiff,                   )
                                    )       CIVIL ACTION FILE NO.
v.                                  )
                                    )       ________________________
MOREHOUSE COLLEGE,                  )
JOHN SILVANUS WILSON,               )
JR., individually and in his        )
capacity as former President of     )
Morehouse College, TERRAINE )
BAILEY, individually and in her )
capacity as Title IX Coordinator    )
and Compliance Specialist of        )
Morehouse College, and DR.          )
ROBERT PETERSON,                    )
individually and in his capacity as )
Assistant Professor at Morehouse )
College,                            )
                                    )
       Defendants.                  )
                                    )

                           NOTICE OF REMOVAL
      COMES NOW Defendant Morehouse College (“Morehouse”) and, pursuant

to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, hereby gives notice of removal of this

action from the Superior Court of Fulton County, Georgia, to the United States

District Court for the Northern District of Georgia, Atlanta Division, showing this

Court as follows:
        Case 1:18-cv-05714-WMR Document 1 Filed 12/13/18 Page 2 of 9




                                          1.

      Plaintiff John Doe (“Plaintiff”) commenced this action on November 5, 2018

by filing a Complaint for Damages and Demand for Jury Trial (the “Complaint”) in

the Superior Court of Fulton County, Georgia.

                                          2.

      In the Complaint, Plaintiff asserts five alleged causes of action against

Morehouse: (1) a sexual harassment and discrimination claim pursuant to Title IX

of the Education Amendments of 1972, 20 U.S.C. §§ 1681 et seq. (“Title IX”); (2)

a hostile educational environment claim pursuant to Title IX; (3) a state law breach

of contract claim; (4) a state law negligence claim; and (5) a state law negligent

hiring, training, retention, and supervision claim.

                                          3.

      Plaintiff’s alleged claims purportedly arise from his participation in

Morehouse’s May 2015 Pan-African Global Experience (“MPAGE”) study abroad

program in Brazil. (See generally Compl.) Plaintiff claims that Defendant Dr.

Robert Peterson, a former Associate Professor in Morehouse’s Department of

Sociology, allegedly sexually harassed Plaintiff while traveling to Brazil to begin

the May 2015 MPAGE program. (Compl. ¶ 14.) Plaintiff further contends that

while in Brazil, Defendant Peterson allegedly subjected him to inappropriate sexual


                                          2
           Case 1:18-cv-05714-WMR Document 1 Filed 12/13/18 Page 3 of 9




comments and advances. (Compl. ¶¶ 16-17.) Plaintiff also alleges that Morehouse

supposedly was aware of Defendant Peterson’s misconduct and his propensity to

engage in sexual misconduct but failed to take prompt corrective action to stop it.

(Compl. ¶¶ 36, 40, 43, 48-50).

                                           4.

      28 U.S.C. § 1441(a) authorizes the removal of a civil action from state court

to federal district court, provided that the federal district court to which the action is

removed has original jurisdiction over the action.

                                           5.

      28 U.S.C. § 1331 provides that “[t]he district courts shall have jurisdiction of

all civil actions arising under the Constitution, laws, or treatises of the United

States.”

                                           6.

      Pursuant to 28 U.S.C. § 1331, this Court possesses original jurisdiction over

Plaintiff’s sexual harassment, discrimination, and hostile educational environment

claims brought pursuant to Title IX because those claims arise specifically and only

under the laws of the United States.




                                            3
        Case 1:18-cv-05714-WMR Document 1 Filed 12/13/18 Page 4 of 9




                                         7.

      28 U.S.C. § 1367(a) provides that “in any civil action of which the district

courts have original jurisdiction, the district courts shall have supplemental

jurisdiction over all other claims that are so related to claims in the action within

such original jurisdiction that they form part of the same case or controversy under

Article III of the United States.”

                                         8.

      A federal district court obtains and is vested with supplemental jurisdiction

over a state law claim pursuant to 28 U.S.C. § 1367(a) when the state law claim

“arise[s] out of a common nucleus of operative facts with a substantive federal

claim.” Parker v. Scrap Metal Processors, Inc., 468 F.3d 733, 742 (11th Cir. 2006).

Federal and state law claims share a common nucleus of operative facts when the

claims arise from the same occurrence and involve the same or similar evidence.

Palmer v. Hosp. Auth. of Randolph Cty., 22 F.3d 1559, 1563-64 (11th Cir. 1994).

                                         9.

      Pursuant to 28 U.S.C. § 1367(a), this Court possesses supplemental

jurisdiction over Plaintiff’s alleged state law breach of contract, negligence, and

negligent hiring, training, retention, and supervision claims asserted against

Morehouse because such claims purportedly are associated with and arise from


                                         4
        Case 1:18-cv-05714-WMR Document 1 Filed 12/13/18 Page 5 of 9




Plaintiff’s participation in the May 2015 MPAGE study abroad program in Brazil.1

Accordingly, Plaintiff’s alleged state law claims share a common nucleus of

operative facts with Plaintiff’s alleged federal sexual harassment, discrimination,

and hostile educational environment claims against Morehouse brought pursuant to

Title IX. Moreover, the disposition of Plaintiff’s alleged state law claims will

involve the same or similar evidence and information related to Plaintiff’s Title IX

claims and the circumstances related to and actions undertaken in connection

therewith.

                                          10.

      Plaintiff served Morehouse with his Summons and Complaint on November

13, 2018. Accordingly, this Notice of Removal is filed within thirty (30) days of

service of Plaintiff’s Complaint and, therefore, is timely pursuant to 28 U.S.C. §

1446(b)(1).




1
       In his Complaint, Plaintiff also asserts the same state law claims against all of
the individual Defendants, in addition to asserting intentional infliction of emotional
distress, sexual harassment, sexual assault, and providing alcohol to a minor claims
only against Defendant Peterson, all of which also are subject to the supplemental
jurisdiction of this Court pursuant to 28 U.S.C. § 1367(a) because such claims
allegedly are associated with and arise from Plaintiff’s participation in the May 2015
MPAGE study abroad program in Brazil. (Compl. ¶¶ 60-74.)

                                           5
        Case 1:18-cv-05714-WMR Document 1 Filed 12/13/18 Page 6 of 9




                                          11.

      The removal of this action is made without prejudice to any of Morehouse’s

potential defenses to be asserted in this action.

                                          12.

      Pursuant to 28 U.S.C. § 1446(d), Morehouse shall promptly serve a copy of

this Notice of Removal upon Plaintiff, and Morehouse shall promtply file the same

with the Clerk of the Superior Court of Fulton County, Georgia.

                                          13.

      Pursuant to 28 U.S.C. § 1446(a), all process, pleadings, orders, and other

papers contained with the Superior Court’s docket as of the date of this filing are

attached hereto as Composite Exhibit “A.”


      This 13th day of December, 2018.

                                                Respectfully submitted,

                                                HOLLAND & KNIGHT LLP


                                                s/ Joshua I. Bosin
                                                Joshua I. Bosin
                                                Georgia Bar No. 143054
                                                Juliana Nwafor
                                                Georgia Bar No. 140608

Regions Plaza, Suite 1800
1180 West Peachtree Street

                                           6
       Case 1:18-cv-05714-WMR Document 1 Filed 12/13/18 Page 7 of 9




Atlanta, Georgia 30309
Telephone: (404) 817-8500
Facsimile: (404) 881-0470
E-Mail: joshua.bosin@hklaw.com
E-Mail: juliana.nwafor@hklaw.com

                                        Counsel for Defendant
                                        Morehouse College




                                    7
        Case 1:18-cv-05714-WMR Document 1 Filed 12/13/18 Page 8 of 9




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

JOHN DOE,                           )
                                    )
       Plaintiff,                   )
                                    )       CIVIL ACTION FILE NO.
v.                                  )
                                    )       ________________________
MOREHOUSE COLLEGE,                  )
JOHN SILVANUS WILSON,               )
JR., individually and in his        )
capacity as former President of     )
Morehouse College, TERRAINE )
BAILEY, individually and in her )
capacity as Title IX Coordinator    )
and Compliance Specialist of        )
Morehouse College, and DR.          )
ROBERT PETERSON,                    )
individually and in his capacity as )
Assistant Professor at Morehouse )
College,                            )
                                    )
       Defendants.                  )
                                    )

                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I have this day caused to be served a true and

correct copy of the foregoing NOTICE OF REMOVAL to the Court using the

CM/ECF system, which will automatically send e-mail notification of such filing to

the following Counsel of Record:
       Case 1:18-cv-05714-WMR Document 1 Filed 12/13/18 Page 9 of 9




R. Cade Parian, Esq.                    Lindsay Anne Cordes, Esq.
Parian Injury Law, LLC                  (to be admitted pro hac vice)
One Atlantic Center, Suite 2342         Tad Thomas, Esq.
1201 West Peachtree Street              (to be admitted pro hac vice)
Atlanta, Georgia 30309                  Thomas Law Offices
Telephone: (404) 795-5035               9418 North Commons Blvd., Suite 200
Facsimile: (404) 953-7020               Louisville, Kentucky 40059
cade@westgalawyer.com                   Telephone: (877) 955-7001
                                        Facsimile: (502) 791-8352
                                        lindsay.cordes@thomaslawoffices.com
                                        tad@thomaslawoffices.com


     This 13th day of December, 2018.

                                          s/ Joshua I. Bosin
                                          Joshua I. Bosin
                                          Georgia Bar No. 143054
